      CASE 0:09-cr-00341-PAM-TNL          Doc. 467     Filed 01/10/12     Page 1 of 1




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,                            Criminal No. 09-341 (10) (RHK/JSM)

                      Plaintiff,
v.                                                   ORDER FOR INTERLOCUTORY
                                                             SALE OF PROPERTY
IDOWU AYINLA SADIQ,

                      Defendant.


       Based upon the Motion of the Plaintiff United States of America, and based on all

the files and records in this action,

       IT IS HEREBY ORDERED:

    1.   The Motion for Interlocutory Sale of Property (Doc. No. 465) is
GRANTED;

       2.     the 2005 Honda Accord, VIN 1HGCM56185A143862 will be sold pursuant

to the terms set forth in the Motion for Interlocutory Sale of Property; and

       3.   all storage and sale expenses shall be deducted from the gross sale price of
the 2005 Honda Accord, VIN 1HGCM56185A143862 and the net sale proceeds shall be

deposited into an interested bearing account pending the Defendant’s sentencing and

exhaustion of all subsequent appeals.

Dated: January 10, 2012

                                                 s/Richard H. Kyle
                                                 RICHARD H. KYLE
                                                 United States District Judge
